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11
                               UNITED STATES DISTRICT COURT
12
                           SOUTHERN DISTRICT OF CALIFORNIA
13
14   UNITED STATES OF AMERICA,                Case No. 18CR3677(1)-W
15                Plaintiff,                  MOTION TO ADMIT
16          v.                                COCONSPIRATOR STATEMENTS
                                              AND SPOUSAL TESTIMONY
17   DUNCAN D. HUNTER,
18
                  Defendant.
19
20        At trial, the United States will offer statements by coconspirator Margaret Hunter and
21 conversations between coconspirators Margaret Hunter and defendant Duncan D. Hunter.
22 These statements, made during and in furtherance of the charged conspiracy to convert
23 campaign funds to personal use, are admissible under Federal Rule of Evidence 801(d)(2)(E)
24 and are not subject to any valid claim of privilege. Moreover, Margaret Hunter may testify
25 about these conversations or other aspects of their joint criminal activity. Margaret Hunter is
26 free to waive her spousal testimonial privilege, and her trial testimony about their joint
27 criminal activity is admissible.
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 1                                                 I.
 2                                   STATEMENT OF FACTS
 3         Defendant Duncan D. Hunter (“Hunter” or “the defendant”) is charged with conspiring
 4 with his wife, Margaret Hunter, to convert campaign funds to their own personal use and
 5 benefit, in violation of 18 U.S.C. § 371, and other related crimes. Indictment ¶¶ 18–22.
 6 Throughout the conspiracy, Duncan and Margaret Hunter1 each provided false explanations
 7 and justifications to their campaign staff; took steps to conceal and disguise their improper
 8 expenditures; and made a host of other statements to third parties in furtherance of the
 9 conspiracy. In addition, Duncan and Margaret, amongst themselves, discussed their campaign
10 and personal finances in general as well as many of the specific expenditures made using
11 campaign funds. These statements came in many forms: in-person communications, phone
12 calls, text messages, email correspondence, and other means.2 All of these statements are
13 admissible coconspirator statements that fall under the crime-fraud exception to the marital
14 communications privilege.
15         A.    The Hunters Encouraged and Assisted One Another’s Embezzlement
16         Over the course of the conspiracy, the Hunters regularly encouraged one another to
17 embezzle campaign funds to make purchases of a purely personal nature, and aided one
18 another’s thefts.     Examples of these discussions abound; the following illustrations
19 demonstrate the type of evidence to be adduced at trial.
20               1.     The steaks. On December 27, 2013, while Duncan was home in San Diego
21 for Christmas, the Hunters planned to host two friends at their home for dinner. That day,
22 Margaret spent $130 in personal funds at the grocery store. Exhibit 1 (credit card statement).
23
           1
24          To aid the reader and avoid confusion, throughout the Statement of Facts the Hunters
     may be referred to separately as “Duncan” and “Margaret,” rather than using their last names.
25         2
           Evidence of the specific examples cited in this motion are attached as exhibits, but this
26 is not an exhaustive set of each and every coconspirator statement or conversation between
   the spouses the United States will present at trial. The attached evidence is provided to allow
27
   the Court a sufficient basis to rule based on the legal principles set forth below.
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 1 But Duncan texted Margaret that afternoon to let her know that their friend had invited two
 2 more couples over for dinner as well. Margaret was frustrated: “I did not buy steaks for 8
 3 adults!” She told Duncan to “buy steaks and [c]all it campaign then[.]” Exhibit 2 (text
 4 exchange).3
 5               2.     The Hawaii shorts. On March 20, 2015, after a morning golf outing with
 6 friends, Duncan went shopping at Lululemon to outfit himself for the family’s upcoming
 7 Hawaii vacation. He texted Margaret, “Does my card work babe? I need $[.]” Margaret
 8 responded, “no doesn’t. Take out petty cash up to $100 off your work card.” She gave him
 9 the campaign card’s PIN. “[T]oday needs to be work day,” she said, then added, “we used to
10 do petty cash all the time with [the former campaign treasurer] it was great.” Duncan
11 responded, “No. I’m going to buy my Hawaii shorts . . . I need my $ babe[.]” Margaret warned
12 Duncan that their personal cards “won’t work till tomorrow[.]” Then, likely thinking that
13 Duncan was still at the golf course, Margaret suggested that he “do a small pro shop purchase
14 with your work card[.] [G]et some balls for the wounded warriors[.]” Exhibit 3 (text
15 exchange). In this way, Margaret knew, the improper purchase could be disguised as a
16 legitimate campaign expense. But unbeknownst to Margaret at the time, Duncan had already
17 left the golf course, so he could not do his shopping at the pro shop. Thus stuck, Duncan used
18 his personal card for a $95 purchase at Lululemon. Exhibit 4 (credit card statement).
19         That same evening, the Hunters hosted their good friends from out of town at their home
20 for dinner. Knowing that they did not have sufficient personal funds to pay for the dinner,
21 Duncan gave Margaret his campaign credit card to use at the grocery store. See Margaret
22 Hunter Plea Agreement, p.9 (Doc. No. 34). She used the campaign card to buy $99 worth of
23 family groceries (including asparagus, bananas, butter, angel food cake and whipped cream,
24
           3
            In their original form, these text message communications are part of a voluminous
25 data set that does not easily show the natural progression of a text conversation. The data also
26 includes metadata and hard-to-decipher time stamps set to Coordinated Universal Time. To
   aid the Court’s review, and to present this voluminous evidence such that it can be
27 conveniently examined in court, the United States has prepared summary charts of the relevant
28 correspondence. See Fed. R. Evid. 1006. Those summaries are used as exhibits to this motion.

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 1 ice cream, and a $35 bag of dog food) and take $100 cash back. Exhibit 5 (grocery receipt).
 2 A photo recovered from the Hunters’ electronic devices shows their out of town guests
 3 enjoying the angel food cake later that evening.
 4               3.    The iMac. On September 15, 2015, Duncan visited the Fashion Valley
 5 Apple Store to buy a new iMac computer and some accessories. Although evidence suggests
 6 the computer was used by one of the Hunters’ children, Duncan nevertheless used campaign
 7 funds for the purchase. The bill came to $2,503, but due to the card’s spending limit Duncan
 8 was able to put only $2,000 on his campaign card. Exhibit 6 (Apple Store receipt). To cover
 9 the rest, he had to use his personal debit card. He texted Margaret to ask about the campaign
10 card’s spending limit. Exhibit 7 (text exchange). Phone records show that they spoke on the
11 phone for a minute or two just before and again after the 2:32 pm purchase. Margaret texted
12 him three minutes after the transaction, “pls send me personal portion right away need to get
13 it back from [the campaign treasurer] asap[.]” Exh. 7. At Margaret’s urgent request, then, the
14 treasurer reimbursed the Hunters for that portion of the iMac purchase the next day. Exhibit 8
15 (reimbursement request), Exhibit 9 (bank statement).
16               4.    The golf money. On September 29, 2015, when he was back in
17 Washington, Duncan got up early to play golf. He texted his golf buddy that he was planning
18 to stop on the way for cigarettes and to withdraw cash. Exhibit 10 (text exchange). But as he
19 reported to Margaret later, “I tried to get money out for golf and insufficient funds. I hate
20 when that happens[.]” Margaret told him, “You need to use camp [campaign] card take the
21 $40 or whatever it costs[.]” She again gave him the campaign card’s PIN, and offered to
22 “make a receipt for it.” Exhibit 11 (text exchange). It is clear that Margaret was suggesting
23 that she could make a receipt to justify the $40 expense to the campaign treasurer.
24        B.     The Hunters Worked Together to Conceal Their Embezzlement
25        The Hunters not only discussed the embezzlement they planned to commit, but worked
26 together to prevent their thefts from being uncovered. In March 2015, for example, the
27 Hunters set off on a Hawaiian vacation to celebrate Margaret’s birthday. Margaret used the
28 campaign card to pay for Duncan’s plane ticket, and financed a portion of the rest of the

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 1 family’s trip using credits from a canceled flight (also belonging to the campaign). Exhibit 12
 2 (airline credits “used for Hawaii”). She texted Duncan, “I had certificates from a prev
 3 cancelled flight so our tickets were only $820 total!!!” Exhibit 13 (text exchange). She also
 4 used campaign funds to pay charges on two separate days at the Aston Kaanapali Shores, the
 5 Hawaii resort where the family stayed—one totaling $1,128, the other for $5,160. Exhibit 14
 6 (campaign bank records). Just days after the Hunters returned home, the treasurer asked
 7 Margaret about the $1,128 charge so that he could account for it in the campaign’s upcoming
 8 FEC report. Exhibit 15 (email between Margaret and treasurer). In response, Margaret falsely
 9 reported that the trip was intended to include a fundraiser, which they later cancelled; she
10 offered to reimburse the campaign. Id. The charge surprised Margaret by appearing on the
11 campaign’s bank records under the resort’s name, rather than the more innocuous-sounding
12 “Expedia.” Exh. 14. Realizing she had been caught, Margaret emailed Duncan to discuss how
13 to manage the situation. “The hotel charges actually show up under Expedia not Aston
14 kaanapali shores[,]” Margaret said, and had to be “paid back by end of June[.]” Exhibit 16
15 (email between Duncan and Margaret). Duncan—knowing they had paid the hotel bill with
16 campaign funds—responded, “[t]hat gives us a few months[.]” Id. A few days later, the
17 treasurer prepared their quarterly public disclosure with the Federal Election Commission
18 (“FEC”) accurately describing the $1,128 charge as a payment to “Aston Kaanapali Shores.”
19 Exhibit 17 (email between Margaret and treasurer, with draft FEC report excerpt). After
20 reviewing the draft, Margaret asked to change the description from “Aston Kaanapali” in
21 Lahaina, Hawaii to the more innocuous-sounding “Expedia” in Bellevue Washington (where
22 Expedia is headquartered). Exhibit 18 (email between Margaret and treasurer). By that time,
23 the treasurer had already filed the report, so an amended report was filed. Id.; Exhibit 19
24 (excerpt of amended FEC report).
25        C.     The Hunters Discussed their Campaign and Personal Finances
26        As set forth in the indictment and described in more detail in a separate motion,
27 throughout the conspiracy the Hunters faced difficult financial circumstances. Their access to
28 personal funds was limited, and as a result, they incurred thousands of dollars in overdraft

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 1 fees. To give just one example, on October 30, 2013, Duncan texted Margaret to ask, if he
 2 used their personal credit card to buy cigarettes, “will that cost $30?”—i.e., would they incur
 3 another insufficient funds fee from the bank. Exhibit 20 (text exchange). He also suffered
 4 embarrassment when their personal cards were declined for routine purchases. On March 17,
 5 2015, for example, as Duncan later recounted to Margaret, his personal card was declined for
 6 a $2.45 charge at the cafeteria, when he was in a “big line” and, presumably, seen by his peers
 7 at the House Office Building. Exhibit 21 (text exchange).
 8        To avoid these costs and embarrassments, the Hunters would communicate alerts to one
 9 another when their personal balances were low and they needed to use campaign funds for
10 personal purchases. For example, on September 19, 2013, Duncan reported to Margaret that
11 his personal debit card declined while he was trying to make a purchase at a liquor store. He
12 texted Margaret, “My card just declined[.]” She responded, “Well sorry didn’t know you’d
13 need before getting cash this weekend,” and said that she had “texted you that I[’]d have cash
14 for you when home[.]” Duncan replied, “I didn’t know that you saying I’d have cash at home
15 meant don’t use the card. Should’ve just said don’t use the card.” Margaret apologized, and
16 Duncan reassured her, “no biggie.” Margaret told Duncan that she would “put some in for
17 next week.” Exhibit 22 (text exchange). Duncan did not respond, but a few hours later, he
18 switched to his campaign card to pay a $16 bar tab at Bullfeathers, for one customer. Exhibit
19 23 (Bullfeathers receipt).
20        About three months later, on December 12, 2013, Margaret texted Duncan that there
21 was “$20 left for you in accnt.” Exhibit 24 (text exchange). A few minutes later, she
22 forwarded him the low balance alert from the bank, warning them they had $28.16 available.
23 She then told him to “[t]ake out the $20!” Exhibit 25 (email between Margaret and Duncan).
24 That night, text messages reveal that Duncan asked one of his closest friends, “You up for 8th
25 st later? Chargers and pizza?” (Indeed, the then-San Diego Chargers defeated the Denver
26 Broncos that night, 27 to 20). Although he was fully aware he had no personal funds left to
27 spend, Duncan nevertheless treated his friends to Matchbox Pizza on 8th Street in Washington,
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 1 where he used $238 in campaign funds to pay for 19 beers, 4 Southern Comforts, 2
 2 Tanquerays, a Jack Daniels, and one pizza. Exhibit 26 (Matchbox receipt).
 3        On October 21, 2014, Duncan texted Margaret, “$[.] Can I please get it tomorrow
 4 morning?” Margaret replied, “we’re very low on $ so I’m concerned[.]” Exhibit 27 (text
 5 exchange).     The next day, Duncan went golfing with one of his closest friends, and,
 6 appropriately, marked the day on his calendar as “Block for Personal Day.”          Exhibit 28
 7 (October 22 calendar entry). Once again, Duncan was fully aware that he had no personal
 8 funds available, so despite the fact that the golf outing was purely personal, he turned to his
 9 campaign treasury to foot the bill. Duncan spent $204 in campaign funds to pay for both of
10 their greens fees, four packs of golf balls, and a few beers. Exhibit 29 (Rancho Bernardo
11 receipt). In each of these cases, Margaret’s warning that their personal balance was low helped
12 Duncan avoid embarrassment and overdraft fees, and save the family money, by alerting him
13 he should use campaign funds to make personal purchases.
14        The Hunters also alerted one another when their improper spending caused the
15 campaign card to max out. On June 29, 2015, the Hunters checked in for a two-night stay at
16 Caesar’s Palace in Las Vegas—their first stop on a family trip to Boise, Idaho for Duncan’s
17 cousin’s wedding. They spent the day on June 30 enjoying the hotel’s Garden of the Gods
18 Pool Oasis, using campaign funds for a $245 breakfast at the hotel’s Café Americano
19 restaurant and four separate orders totaling $158 at the poolside swim-up bar Snackus
20 Maximus. Exhibit 30 (hotel receipt); Exhibit 31 (photo at Snackus Maximus). Shortly after
21 they returned home from this family trip (which, all told, cost the campaign approximately
22 $3,800), Duncan reported to Margaret that his campaign card declined when he tried to make
23 a $100 purchase. Exhibit 32 (text exchange). A few hours later, Margaret reminded him that
24 they had racked up a $600 minibar tab and spent $178 for “kids room service while we were
25 at pool and our pool drinks” just days earlier, all on the campaign card. Id. Hunter wasn’t
26 surprised—he pointed out that breakfast alone was more than $200. As these were campaign
27 funds and not the Hunters’ personal money, Margaret shrugged it off: “Anyway lots of $ oh
28 well[.]” Id.

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 1         As another example of the Hunters’ monitoring of their campaign card funds, on
 2 November 19, 2015, the Hunters departed for a long-awaited vacation to Italy. While there,
 3 they spent thousands of dollars in campaign funds on hotels, restaurants, train tickets, museum
 4 fees, and shopping. On November 27, they tried to buy merchandise at Gioielleria Manetti,
 5 an upscale Florentine jewelry and watch store, using their personal debit card—but the card
 6 was declined by the fraud prevention department. Exhibit 33 (email from Chase). So
 7 Margaret switched to her campaign card to make a $216 purchase (charged as €203 Euros).
 8 Exhibit 34 (English translation of jewelry store receipt). Just days after the Hunters returned
 9 home, Margaret texted Duncan to discuss problems they had with the campaign card not
10 working. Exhibit 35 (text exchange). Duncan responded, “Ok. I'll try it right now.” Eight
11 minutes later, he texted her, “Just tried it for $30 and it does not work. It explicitly says
12 declined. This is [sic] happened twice now at two different places within 24 hours[.]”
13 Margaret replied, “K I’ll make a call[.]” Id. She then emailed the treasurer that Duncan had
14 “just tried to use his [card] and didn’t work can you check pls[.]” He suggested, “perhaps it’s
15 a fraud concern.” Exhibit 36 (email between Margaret and treasurer). Margaret texted
16 Duncan, “yep bank had a fraud concern and resent a card.” Exh. 35.
17         D.    Margaret Advances the Conspiracy Through Her Own Statements
18         Throughout the conspiracy, both Duncan and Margaret also made numerous statements
19 to third parties in furtherance of the conspiracy. Margaret, for example, routinely submitted
20 requests to the treasurer for reimbursements, particularly during the times she did not have
21 access to her own credit or debit card to spend campaign funds. Margaret also had numerous
22 discussions with creditors and vendors about outstanding bills she ultimately paid with stolen
23 campaign funds—including family dental bills, private school tuition, dance classes, and other
24 personal expenses. And Margaret engaged the treasurer several times about increasing her
25 and Duncan’s access to campaign funds, including by seeking out higher credit limits or
26 greater daily spending caps, resolving suspended cards or allaying fraud concerns, or to obtain
27 additional credit cards in her or Duncan’s names.
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 1         In addition, she made a host of false statements in furtherance of the conspiracy. She
 2 often sent the treasurer emails providing false explanations for purchases she made using
 3 campaign funds. Other times, she sought fraudulent reimbursements from the campaign for
 4 personal expenses she bought using the Hunters’ personal funds—such as the full cost of a
 5 $438 dinner at Island Prime with close friends, even though their friends had in fact paid the
 6 bill. (Duncan did the same, asking for reimbursements, for example, for mileage on trips he
 7 did not actually drive.) Nearly every quarter, ahead of the required FEC filings, Margaret
 8 reviewed draft FEC reports or answered questions from the treasurer, all to cover up the
 9 Hunters’ personal spending—and all in furtherance of the conspiracy.
10
                                                     II.
11
                                              ARGUMENT
12
           Margaret’s communications with Hunter and with others are coconspirator statements
13
     admissible at trial under Federal Rule of Evidence 801(d)(2)(E). And because the discussions
14
     between Margaret and Duncan were made in furtherance of their conspiracy to embezzle
15
     funds, they are not protected by any marital communications privilege. As the examples above
16
     illustrate, throughout the conspiracy, the Hunters encouraged one another to make fraudulent
17
     purchases, facilitated each other’s thefts, and plotted to conceal their crimes from campaign
18
     staff, the FEC, and the public. These communications fall squarely within the privilege’s
19
     crime-fraud exception and should be admitted at trial. Moreover, Margaret may waive any
20
     spousal testimonial privilege and is free to testify at Hunter’s trial.
21
           A.     Statements by Margaret Hunter During and in Furtherance of the
22                Conspiracy are Admissible Coconspirator Statements
23         A coconspirator’s statement is admissible non-hearsay under Rule 801(d)(2)(E) if: (1) it
24 was made in furtherance of a conspiracy or common enterprise; (2) it was made during the life
25 of the conspiracy or enterprise; and (3) the defendant and the declarant were members of the
26 conspiracy or enterprise. See generally Bourjaily v. United States, 483 U.S. 171, 175 (1987);
27 United States v. Layton, 855 F.2d 1388 (9th Cir. 1988). The statements “need not be made to
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 1 a member of the conspiracy to be admissible under [R]ule 801(d)(2)(E).” United States v.
 2 Zavala-Serra, 853 F.2d 1512, 1516 (9th Cir. 1988). Accordingly, statements made by a
 3 coconspirator to a third party such as a staff member or treasurer are admissible non-hearsay,
 4 so long as the speaker is acting in furtherance of the conspiracy.
 5         The existence of a conspiracy and the defendant’s involvement in it are preliminary
 6 questions of fact that are resolved by the trial judge under Rule 104(a). Bourjaily, 483 U.S. at
 7 176. And courts apply a “liberal standard” in determining whether a statement was “in
 8 furtherance” of the conspiracy. See, e.g., United States v. Siegelman, 640 F.3d 1159, 1181
 9 (11th Cir. 2011). The court’s duty is to determine whether a jury could reasonably find that a
10 conspiracy existed by a preponderance of the evidence. See Huddleston, 485 U.S. at 690; see
11 also Bourjaily, 483 U.S. at 180-81 (finding that a coconspirator’s statements may themselves
12 be probative of the existence of a conspiracy and the participation of the defendant and the
13 declarant).
14         There is ample evidence for the Court’s preliminary determination that a conspiracy
15 existed to use funds belonging to the Duncan D. Hunter for Congress Campaign for the
16 personal benefit and enjoyment of the Hunter family. Margaret Hunter, who is Hunter’s sole
17 coconspirator, has admitted to conspiring with Hunter; she pleaded guilty and described the
18 object, manner, and means of the conspiracy in great detail. See generally Margaret Hunter
19 Plea Agreement (Doc. No. 34). The conspiracy began in 2009 and continued through at least
20 the end of 2016, even after the FEC and the press began inquiring about and investigating the
21 unlawful spending. Statements by both Duncan4 and Margaret Hunter made in furtherance of
22 the conspiracy should be admitted as non-hearsay.
23         B.    The Marital Communications Privilege Does Not Protect Statements Made
                 By Spouses Who are Partners in Crime
24
           Under normal circumstances, the marital communications privilege protects
25
     “statements or actions that are intended as confidential communications between spouses,
26
27         4
          Of course, Duncan Hunter’s statements are also admissible at his separate trial as
28 non-hearsay under 801(d)(2)(A).

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 1 made during the existence of a valid marriage, unless the marriage had become irreconcilable
 2 when the statements were made.” United States v. Fomichev, 899 F.3d 766, 771 (9th Cir.),
 3 opinion amended on denial of reh’g, 909 F.3d 1078 (9th Cir. 2018) (citation omitted). “The
 4 privilege (1) extends to words and acts intended to be a communication; (2) requires a valid
 5 marriage; and (3) applies only to confidential communications, i.e., those not made in the
 6 presence of, or likely to be overheard by, third parties.”5 United States v. Montgomery, 384
 7 F.3d 1050, 1056 (9th Cir. 2004). The Ninth Circuit “emphasize[s] that [it] will narrowly
 8 construe the marital communications privilege because it obstructs the truth-seeking process.”
 9 United States v. Marashi, 913 F.2d 724, 730 (9th Cir. 1990). “Use of the privilege in criminal
10 proceedings requires a particularly narrow construction because of society’s strong interest in
11 the administration of justice.” Id.
12         The circumstances here, in which two spouses are engaged in joint criminal activity,
13 fall well outside the bounds of the privilege. The marital communications privilege simply
14 “does not apply to communications having to do with present or future crimes in which both
15 spouses are participants[.]” Marashi, 913 F.2d at 730. The “crime-fraud exception” thus
16 “assure[s] a criminal that if he enlists the aid of his spouse, he is creating a potential witness
17 for the government.” Id. In short, “discovering the truth about criminal activity outweigh[s]
18 protecting the privacy of marriage,” United States v. Roberson, 859 F.2d 1376, 1380 (9th Cir.
19 1988), and this tenet is so unassailable that “[e]very circuit addressing the issue” has agreed
20 that the marital communications privilege is subject to a crime-fraud exception. Marashi, 913
21 F.2d at 730.
22         As the facts described above detail, Margaret regularly encouraged Duncan to use
23 campaign funds to make purchases that were obviously personal. And Duncan explicitly
24
25         5
           The marital communications privilege therefore cannot shield statements the Hunters
26 made to one another in the presence of third parties—such as, for example, Duncan’s
   statements over email where others are cc’d. See Wolfle v. United States, 291 U.S. 7, 14 (1934)
27 (“when made in the presence of a third party, [marital] communications are usually regarded
28 as not privileged because not made in confidence.”).

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 1 allowed Margaret to do the same, including for purchases—not least of which, a $600 minibar
 2 tab at Caesar’s Palace—that benefited him directly. Margaret repeatedly reminded Duncan
 3 their PIN so that he could withdraw cash from campaign funds for personal use. Even when
 4 Margaret’s admonitions took implicit rather than overt form, Duncan received the messages
 5 loud and clear: when their personal bank balances were low, Duncan knew to use campaign
 6 funds for personal purchases. They also conferred about how to keep their crimes hidden:
 7 offering one another pretextual explanations for purchases, or offering to create receipts to
 8 justify their spending. Cf. United States v. Short, 4 F.3d 475, 479 (7th Cir. 1993) (marital
 9 communications privilege did not apply where spouse “aided the defendants in concealing the
10 crime”).
11         Just as businesses maintain records of their cash inflows and outflows to ensure their
12 spending does not exceed available funds, so too did the Hunters review their fraudulent
13 purchases with one another when they had spent more than the campaign account would bear.
14 See United States v. Harrelson, 754 F.2d 1153, 1168 (5th Cir. 1985) (marital communications
15 privilege did not shield spouses’ references to “past crimes” that were “repeated in furtherance
16 of a continuing crime, conspiracy to obstruct justice,” as “[i]t is obviously necessary to know
17 what one has to hide in order to hide it.”). The marital communications privilege does not
18 protect communications between the Hunters made in furtherance of their conspiracy to
19 embezzle campaign funds.
20         C.     Duncan Hunter Cannot Bar Margaret Hunter’s Testimony Under the
                  Spousal Testimonial Privilege
21
           While the marital communications privilege relates to the admissibility of
22
     communications between spouses made during the marriage, the spousal testimonial privilege
23
     permits a witness to refuse to testify against his or her spouse. See Trammel v. United States,
24
     445 U.S. 40, 53 (1980). The witness spouse alone holds the privilege and may choose to waive
25
     it. Id. Margaret, therefore, may choose to testify, and waive the testimonial privilege she
26
     alone holds. See Montgomery, 384 F.3d at 1056 (“The witness spouse alone holds the [spousal
27
     testimonial] privilege and may choose to waive it.”).
28

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1                                              III.
2                                        CONCLUSION
3        For the reasons set forth above, this Court should admit Margaret Hunter’s
4 coconspirator statements and allow her testimony at trial.
5        DATED: June 24, 2019
6
7                                                     Respectfully submitted,
8
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9                                                     Attorney for the United States
10
                                                      s/ Bradley G. Silverman
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                                                      PHILLIP L.B. HALPERN
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14                                                    Assistant U.S. Attorneys

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        New                  Minimum             Payment              Amount
                                                                                                                  City                                I State                           I Zip
                                                                                                                   H Phone (             )                    W Phone (                        )
      Balance               Payment Due          Due Date             Enclosed

    $10,132.16                $177 .00           02101114         $
                                                                                                                    DUNCAN D HUNTER
To emvrepropercr6dit, ploase reb.lm this pottion with your Check or/lfomyOrder
p,,yment , , _p,,yable ro USAA Savings Bllfllc. DO NOT SEND CASH.                                                   D
                                                                                                                    LA
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                                                                                                                           MESA CA 91944 - 0877
                                                                                                                   11•111111 ••1 111111111•11 1•l•11•1l•111 11'l·111 111 11111 l•l 11111 11'·
  USAA CREDIT CARD PAYMENTS
  10750 MCDERMOTT FWY
  SAN ANTONI O TX 78288-057 0
  1111 •11•1 11111111•1111•111•1111 1111111•111•1•1 11•1111•111111••111

                                                       0089 747 5 1                          5491 23XXXXXX3 7 520001 7 7 00 01 01 3 216 9
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~
USAA"'

    Account Number
   Credit limit
   Available credit
                                                                -
                                                               5491   xxxx xxxx 3752
                                                                             $10,300.00
                                                                                $167.00
                                                                                                      Statement closing date



                                                                                                                                USAA Docu ments Online

                                                                                                             Get statements faster, save paper , and reduce your
                                                                                                              risk of identily theft with USAA Documents Online.
                                                                                                                                                                                             01 /07/14




                                                                                                             It's free, convenient, and helps us save you money.
   Questions?
   Visit us at MWr'CtseMCMJ                                                                                          Log on to usaa.com and sign up today.
   Questions? caJ/ CUstDmor S8tvic8                                       (800) 531 -8722
   Lost or Su,/en Card                                                    (800) 531 -8722

   Or writo us at:
   PO BOX 65()20, SAN ANTONIO, T)( 78265-S020

   Ramil paym<inl to:        USAA CREDrr CARD PAYMENTS
                             10750 MCDERMOTT FWY
                             SAN ANTONIO T)( 78288-0570

                            Summary of Account Activity                                                                         Payment Information
   Previous Balance                                                             $10,142.51            New Balance                                                                               $10,132.16
   Payments                                                                        $230.00
   Other Credit s                                                                   $10.86            Minimum Payment Due                                                                             $177.00
   New Purchases                                                      +            $155.19
                                                                                                      Payment Due Date                                                                               02101/14
   New cash Advances                                                  +              $0.00
   New Balance Tran~ers                                               +              $0.00
   Fees Charged                                                       +              $0.00            Late Payment Waming: II we do not receive your minimum payment by
   Interest Charged                                                   +             $75.32            Uie date listed above, you ,nay have to pay a late lee up to $25.00.

                                                                                                      Minimum Payment Waming: II you make ooly the regvlar minimum
   New Balance                                                                  $10,132.16            payment• each period, you will pay more in interest and it will take you
   Credit Limit                                                                 $10,300.00            longer to pay off your balance. For example:
   Available Credit                                                                $167.00
   Days in billing cycle                                                                32
                                                                                                            If you make no               You ~.111 pay
                                                                                                                                                                             And you will end
                                                                                                          addiLional d•nyes             off Uw, balance
                                                                                                                                                                                up paying
                                                                                                            using this <:<1rd           shown on this
                                                                                                                                                                              anesLimaloo
                                                                                                           and each month                statement in
                                                                                                                                                                                total of ...
                                                                                                               you pay ...                  about ...
                                                                                                          Only the minimum                   27 years
                                                                                                                                                                                 $17,220.00
                                                                                                              payment
                                                                                                                                                                                $11 ,583.00
                                                                                                               $322.00                       3years
                                                                                                                                                                           (Savings • $5,637.00)

                                                                                                      II you would like lnlonnatlon about credit rounseling services. call
                                                                                                      1-800-531-1291.

                                                                                                      ' See Important Account lnlormatiOn at end of stetement. You may repay the
                                                                                                      total balance at any time.


                                                                                   Rewards Summary


                                                                             USAA MEMBER SHO P REWARDS

                                           BEGINNING BALANCE                                                                                                 .oo
                                           REBATE EARNED/ADJUSTED THIS PERIOD                                                                                . 00
                                           ENDING BALANCE                                                                                                    . 00

                                                 TO LEARN MORE ABOUT USAA MEMBERSHOP REWARDS, VISIT
                                                               USAA.COM/MBMBBRSHOP.
                                                                                                                                                                                                        GOVERNMENT
                                                                           USAA CASH REWARDS PROGRAM                                                                                                      EXHIBIT
                                           BEGINNING BALANCE
                                           REBATE EARNED/ADJUSTED THIS PERIOD
                                                                                                                                                     10.1 6
                                                                                                                                                       .70
                                                                                                                                                                                                      Ex. 1, Pg. 1
                                           ENDING BALANCE                                                                                                    .oo                                          18CR3677-W
                                                                                                                                         Rewa                                                              e.

                     5550        C2R                   ?   3     140 107    0           PACE 1   ot   4
  Payment Conditions. Payments must be made in U.S. dollars and drawn on funds on deposit at financial institutions insured by the F.D.I.C. Do not mail
Case    3:18-cr-03677-W
  cash. Payments                          Document
                 received by us by 5 pm central                   47as ofFiled
                                                time will be credited    the same 06/24/19
                                                                                  day if the payment isPageID.324
                                                                                                       in U.S. dollars and made: Page 15 of 66
         By check or money order drawn on a financial institution located in the U.S. or the post office, accompanied only with this payment coupon or your
         account number, and either mailed to our payment address on the front or delivered in person to us (do not mail cash);
         Electronically on usaa.com or through a third-party bill paying service; or
         Telephonically by calling 1-800-531-8722,
         Payments that we accept that do not meet the above requirements will be credited within 5 days. We reserve the right 1D withhold credit availability until
         we confinn receipt of good funds.




    Account Settlements. You cannot settle your account balance without our written agreement. If you want to settle your account for less than the New
    Balance (for example if you dispute the amount you owe or you cannot afford to pay what you owe), you must write to us at USAA Credit Card Resolution
    Services, P.O. Box 34894, San Antonio, TX 78265 and we must agree in writing. Otherwise, we may process your payment and it will not release you from
    paying the remaining unpaid balance or result in an accord and satisfaction.




                                                              Rewards Summary (continued)

                                           FOR QUESTIONS ABOUT YOUR USAA CASH REWARDS PROGRAM
                                                                     CALL    (BOO)     5 31- B 7 2 2 .



                                                                            Transactions
   Payments and Credits
   Trans Date Post Date Card Reference Number                            Descriotion                                                                        Amount
      01/01     01/01    M F194600CHOOCHGDDAM                            AUTOMATIC PAYMENT· THANK YOU                                                         $230.00-
                                                                         Total Pavments And Credits For This Period                                           $230.00-
   Transactions
   Trans Date Post Date Card Reference Number                            Description                                                                        Amount
      12/25     12/25    M 5513158B7BM8VM3R8M                            MSFT 'XBOX LIVE        08006427676 WA                                                  $9.99
      12/27     12/27    M 0541019BA8NF6ZXZRM                            VONS STORE00023333 EL CAJON CA                                                       $130.00
      12/27     12/27    M 0541019B920B137FSM                            FEDEXOFFICE 00027037 EL CAJON CA                                                      $15.20
      01/07     01/07                                                    YOUR USAA CASH REBATE                                                                 $10.86-
                                                                         Total Transactions For This Period                                                   $144.33
   Fees
   Trans Date Post Date Card Reference Number                            Descriotion                                                                        Amount
                                                                         Total Fees For This Period                                                             $0.00
   Interest Charged
   Trans Date Post Date Card Reference Number                            Descriotion                                                                        Amount
                                                                         INTEREST CHARGED ON PURCHASES                                                         $74,85
                                                                         INTEREST CHARGED ON CASH ADVANCES                                                      $0.47
                                                                         INTEREST CHARGED ON BALANCE TRANSFERS                                                  $0.00
                                                                         Total Interest For This Period                                                        $75.32

                                                                     2014 Totals Year-to-Date
                                             Total fees charged in 2014                                                   $0.00
                                             Total interest charged in 2014                                            $75.32

                                                                        Important Messages


                                                          $230.00    WILL BE DEDUCTED FROM YOUR
                                            FUNDING ACCOUNT AND CREDITED AS YOUR AUTOMATIC PAYMENT ON
                                              02/01/14, THE AUTOMATIC PAYMENT AMOUNT MAY BE REDUCED BY
                                               PAYMENTS AND/OR CREDITS POSTED ON OR BEFORE THIS DATE.

                                                                 Interest Charge Calculation
     Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                               Annual Percentage                Balance Subject to
    ITvpe of Balance
     Regular Purchases (v)
                                                                                           I      Rate (APR)
                                                                                                        8.90%
                                                                                                                         I        Interest Rate•
                                                                                                                                     $6,804.91
                                                                                                                                                     I Interest Charae I
                                                                                                                                                              $50.50
     Regular Cash Advances (v)                                                                          8.90%                           $63.36                 $0.47
     Protected Balance Purchase                                                                         8.90%                        $3,282.72                $24.35
     The APR for a balance type followed by a (v) is a variable rate.

     Paying Interest and Your Grace Period: We will not charge you any further interest on your Purchase Balance on this Statement if you pay your entire
     New Balance by your Payment Due Date of02/01/14.

     'Balance Computation Method: Average Daily Balance (including New Purchases). For more information about how we calculate the Balance Subject to
     Interest Rate and how resultin(l interest was determined, call (800) 531-8722.

                                                                     Additional Disclosures
                                                                                                                                                                           GOVERNMENT
                                                                                                                        Additional Disclosures continue on next a e.         EXHIBIT

                                                                                                                                                                           Ex. 1, Pg. 2
                                                                                                                                                                             18CR3677-W



                                                                                                                                      H G-USAA-020-000500
                5550          C2E               7   3   140107   0          PAGE :2 of 4         1 0   1946   7000   1i'06:;J    01A:B5550
  Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.325 Page 16 of 66

                                                Duncan 12/27/2013 2:30 PM

                                         George and Erin and
                                         Sam and Theresa will
                                         be joining us for
                                         dinner. Unavoidable.
                                         Don invited them.
                                         Seriously. Not my
                                         fault.
Margaret 12/27/2013 2:46 PM
I did not buy steaks
for 8 adults!
Margaret 12/27/2013 2:46 PM
And I’m not going back
to store
Margaret 12/27/2013 2:46 PM
Ridiculous
Margaret 12/27/2013 2:48 PM
What’s next SAMs
kids???
Margaret 12/27/2013 2:49 PM
 I’m done with family
 Duncan seriously and
 they were due here                                                        GOVERNMENT
 monday not anyone’s                                                         EXHIBIT

 call                                                                     Ex. 2, Pg. 1
                                                                            18CR3677-W


                                                     1B78 Apple iPad_Other Items_pgs 647
 Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.326 Page 17 of 66

Margaret 12/27/2013 2:50 PM
buy steaks and all it
campaign then




                                                                           GOVERNMENT
                                                                             EXHIBIT

                                                                          Ex. 2, Pg. 2
                                                                            18CR3677-W

                                                    1B78 Apple iPad_Other Items_pgs 647
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.327 Page 18 of 66




                                            Duncan 03/20/2015 1:34 PM
                                       Does my card work
                                       babe?
                                            Duncan 03/20/2015 1:34 PM
                                       I need $
    Margaret 03/20/2015 1:34 PM

    no doesn’t. Take out
    petty cash up to $100
    off your work card.
    1959 pin
    Margaret 03/20/2015 1:35 PM
   today needs to be
   work day
    Margaret 03/20/2015 1:35 PM
   we used to do petty
   cash all the time with
   Bruce it was great
                                          Duncan 03/20/2015 1:35 PM
                                       No. I’m going to
                                       buy my Hawaii
                                       shorts.
                                                                            GOVERNMENT
                                                                              EXHIBIT

                                                                            Ex. 3, Pg. 1
                                                                              18CR3677-W

                                          1B78 Apple iPad_Other Items_pgs 686-687
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.328 Page 19 of 66




    Margaret 03/20/2015 1:35 PM
   ours won’t work till
   tomorrow
                                           Duncan 03/20/2015 1:35 PM
                                       I need my $ babe
    Margaret 03/20/2015 1:36 PM

   Not today

    Margaret 03/20/2015 1:36 PM
   do a small pro shop
   purchase with your
   work card
    Margaret 03/20/2015 1:36 PM
   get some balls for the
   wounded warriors
    Margaret 03/20/2015 1:36 PM

   golf



                                                                          GOVERNMENT
                                                                            EXHIBIT

                                                                          Ex. 3, Pg. 2
                                                                            18CR3677-W


                                          1B78 Apple iPad_Other Items_pgs 686-687
                                                                                                                            Address dw,gc? V,sit w       at: www mutt CQW or c"'npfctc the f(Jlm bclw1
                                   Account S ummary
Case 3:18-cr-03677-W          Document 47 Filed 06/24/19tlSN\PageID.329
        Account Number 549 1 XXXX XXXX 3752
                                                               .it
                                                                   S4'.V~afcas Page
                                                                               wld1 20 of 66                                and return    vti!h yo,11 /J11Jme11t. 7he ndaess change vlffi updl)u, All
                                                                                                                                   P,»((Od$ 8fd          8 $..";fJt.~U..c1    )KJII( fi(JfJSf1h~)41.


                                                                                                                     Address

       New                   Min imum              Payment              Amount
                                                                                                                     City                                 I State                         I Zip
                                                                                                                      H Phone (              )                  W Phone (                        )
      Balance               Payment Due            Due Date             Enclosed

     $9,992.96                $174 .00              05101115        $
                                                                                                                       DUNCAN D HUNTE R
To emvrepropercr6dit, ploase reb.lm this pottion with your Check or/lfomyOrder
p,,yment , , _p,,yable ro USAA Savings Bllfllc. DO NOT SEND CASH.                                                      D
                                                                                                                       LA     ~E~S~A~ C~A 91944 - 0877
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  USAA CREDIT CARD PAYMENTS
  10750 MCDERMOTT FWY
  SAN ANTONI O TX 78288-057 0
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                                                         0089 747 5 1                            549123XXXXXX37520001 74000099 9 2968
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USAA"'

    Account Number
   Credit limit
   Available credit
                                                                  -
                                                                 5491   xxxx xxxx 3752
                                                                                $10,300.00
                                                                                   $307.00
                                                                                                         Statement closing date



                                                                                                                                   USAA Documents Online

                                                                                                                Get statements faster, save paper, and reduce your
                                                                                                                 risk of identily theft with USAA Documents Online.
                                                                                                                                                                                               04/06/15




                                                                                                                It's free, convenient, and helps us save you money.
   Questions?
   Visit us at MWr'CtseMCMJ
                                                                                                                        Log on to usaa.com and sign up today.
   Questions? caJ/ CUstDmor S8tvic8                                          (800) 531 -8722
   Lost or Su,/en Card                                                       (800) 531 -8722

   Or writo us at:
   PO BOX 65()20, SAN ANTONIO, T)( 78265-S020

   Ramil paym<inl to:        USAA CREDrr CARD PAYMENTS
                             10750 MCDERMOTT FWY
                             SAN ANTONIO T)( 78288-0570

                            Summary of Account Activity                                                                            Payment Information
   Previous Balance                                                                 $9,91 1.21           New Balance                                                                                   $9.992.96
   Payments                                                                           $230.00
   Other Credit s                                                                       $0.00            Minimum Payment Due                                                                            $174.00
   New Purchases                                                        +             $237.63
                                                                                                         Payment Due Date                                                                              05101115
   New cash Advances                                                    +               $0.00
   New Balance Tran~ers                                                 +               $0.00
   Fees Charged                                                         +               $0.00            Late Payment Waming: II we do not receive your minimum payment by
   Interest Charged                                                     +              $74.12            Uie date listed above, you ,nay have to pay a late lee up to $25.00.

                                                                                                         Minimum Payment Waming: II you make ooly the regvlar minimum
   New Balance                                                                      $9,992.96            payment• each period, you will pay more in interest and it will take you
   Credit Limit                                                                    $10,300.00            longer to pay off your balance. For example:
   Available Credit                                                                   $307.00
   Days in billing cycle                                                                   31
                                                                                                               If you make no               You ~.111 pay
                                                                                                                                                                               And you will end
                                                                                                             additional d•nyes             off Uw, balance
                                                                                                                                                                                  up paying
                                                                                                               using this <:<1rd           shown on this
                                                                                                                                                                                anestimaloo
                                                                                                              and each month                statement in
                                                                                                                                                                                  total of ...
                                                                                                                  you pay ...                  about ...
                                                                                                             Only the minimum                    27 years
                                                                                                                                                                                   $16,980.00
                                                                                                                 payment
                                                                                                                                                                                  $11,424.00
                                                                                                                  $317.00                        3years
                                                                                                                                                                             (Savings • $5,556.00)

                                                                                                         II you would like lnlonnatlon about credit rounseling services. call
                                                                                                         1-800-531-1291.

                                                                                                         ' See Important Account lnlormatiOn at end of statement. You may repay the
                                                                                                         total balance at any time.


                                                                                      Rewards Summary


                                                                                USAA MEMBER SHO P REWARDS

                                             BEGINNING BALANCE                                                                                                 .oo
                                             REBATE EARNED/ADJUSTED THIS PERIOD                                                                                . 00
                                             ENDING BALANCE                                                                                                    . 00

                                                   TO LEARN MORE ABOUT USAA MEMBERSHOP REWARDS, VISIT
                                                                 USAA.COM/MBMBBRSHOP.                                                                                                                        GOVERNMENT
                                                                                                                                                                                                               EXHIBIT
                                                                              USAA CASH REWARDS PROGRAM

                                             BEGINNING BALANCE                                                                                                 .24                                          Ex. 4, Pg. 1
                                             REBATE EARNED/ADJUSTED THIS PERIOD                                                                             1. 07
                                             ENDING BALANCE                                                                                                 1. 31
                                                                                                                                                                                                                18CR3677-W
                                                                                                                                             Rewa                                                             e.

                     5550          C2R                   ?   3     150<1.U     o           PACE 1   ot   4
  Payment Conditions. Payments must be made in U.S. dollars and drawn on funds on deposit at financial institutions insured by the F.D.I.C. Do not mail
Case    3:18-cr-03677-W
  cash. Payments                          Document
                 received by us by 5 pm central                   47as ofFiled
                                                time will be credited    the same 06/24/19
                                                                                  day if the payment isPageID.330
                                                                                                       in U.S. dollars and made: Page 21 of 66
         By check or money order drawn on a financial institution located in the U.S. or the post office, accompanied only with this payment coupon or your
         account number, and either mailed to our payment address on the front or delivered in person to us (do not mail cash);
         Electronically on usaa.com or through a third-party bill paying service; or
         Telephonically by calling 1-800-531-8722,
         Payments that we accept that do not meet the above requirements will be credited within 5 days. We reserve the right 1D withhold credit availability until
         we confinn receipt of good funds.




    Account Settlements. You cannot settle your account balance without our written agreement. If you want to settle your account for less than the New
    Balance (for example if you dispute the amount you owe or you cannot afford to pay what you owe), you must write to us at USAA Credit Card Resolution
    Services, P.O. Box 34894, San Antonio, TX 78265 and we must agree in writing. Otherwise, we may process your payment and it will not release you from
    paying the remaining unpaid balance or result in an accord and satisfaction.




                                                               Rewards Summary (continued)

                                           FOR QUESTIONS ABOUT YOUR USAA CASH REWARDS PROGRAM
                                                                       CALL    (BOO)     5 31- B 7 2 2 .



                                                                              Transactions
   Payments and Credits
   Trans Date Post Date Card Reference Number                              Descriotion                                                                        Amount
      04/01     04/01    M F1946002VOOCHGDDAM                              AUTOMATIC PAYMENT· THANK YOU                                                         $230.00-
                                                                           Total Pavments And Credits For This Period                                           $230.00-
   Transactions
   Trans Date Post Date Card Reference Number                              Description                                                                        Amount
      03/15     03/15    M 55432862A004ZR3TDM                              24HOUR FITNESS USA.INC 800-432-6348 CA                                                 $3.50
      03/20     03/20    M 85426232HWGNBPT9BM                              VAPIN THE619ELCAJON CA                                                                $27.00
      03/20     03/20    M 55432862GOOTEX971M                              LULULEMON CARLSBAD CARLSBAD CA                                                        $95.04
      03/22     03/22    M 55480772H8AEE12AXM                              GASLAMP ROCKIN BAJA SAN DIEGO CA                                                      $11.72
      03/24     03/24    M 55263522L29JQ8R1 DM                             BUBBLES #503 WASHINGTON DC                                                            $45.00
      03/24     03/24    M 55457022L61BDJ7VJM                              GANDEL'S LIQUOR WASHINGTON DC                                                         $11.50
      03/25     03/25    M 55131582MBM8SP98BM                              MSFT 'XBOX LIVE        08006427676 WA                                                  $9.99
      03/25     03/25    M 05486802MRBGP5VY4M                              EXXONMOBIL 47819362 WASHINGTON DC                                                     $15.90
      03/26     03/26    M 254157 52N01 MG8J7SM                            7-ELEVEN 16439 EL CAJON CA                                                             $6.90
      03/27     03/27    M 25415752P01 R76R1 BM                            7-ELEVEN 16439 EL CAJON CA                                                            $11.08
                                                                           Total Transactions For This Period                                                   $237.63
   Fees
   Trans Date Post Date Card Reference Number                              Descriotion                                                                        Amount
                                                                           Total Fees For This Period                                                             $0.00
   Interest Charged
   Trans Date Post Date Card Reference Number                              Descriotion                                                                        Amount
                                                                           INTEREST CHARGED ON PURCHASES                                                         $73,35
                                                                           INTEREST CHARGED ON CASH ADVANCES                                                      $0.77
                                                                           INTEREST CHARGED ON BALANCE TRANSFERS                                                  $0.00
                                                                           Total Interest For This Period                                                        $74.12

                                                                       2015 Totals Year-to-Date
                                             Total fees charged in 2015                                                     $0.00
                                             Total interest charged in 2015                                            $299.16

                                                                         Important MessaQes


                                                             $230.00 WILL BE DEDUCTED FROM YOUR
                                            FUNDING ACCOUNT AND CREDITED AS YOUR AUTOMATIC PAYMENT ON
                                              05/01/15. THE AUTOMATIC PAYMENT AMOUNT MAY BE REDUCED BY
                                               PAYMENTS AND/OR CREDITS POSTED ON OR BEFORE THIS DATE.

                                                                   Interest Charge Calculation
     Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                                 Annual Percentage                Balance Subject to
    ITvoe of Balance
     Regular Purchases (v)
                                                                                             I      Rate (APR)
                                                                                                          8.90%
                                                                                                                           I        Interest Rate•
                                                                                                                                       $8,919.68
                                                                                                                                                       I Interest Charae I
                                                                                                                                                                $66.19
     Regular Cash Advances (v)                                                                            8.90%                          $103.62                 $0.77
     Protected Balance Purchase                                                                           8.90%                          $965.86                 $7.16
     The APR for a balance type followed by a (v) is a variable rate.
                                                                                                                                                                         GOVERNMENT
     Paying Interest and Your Grace Period: We will not charge you any further interest on your Purchase Balance on this Statement if you pay your entire
     New Balance by your Payment Due Date o/05/01/15.
                                                                                                                                                                           EXHIBIT

     'Balance Computation Method: Average Daily Balance (including New Purchases). For more information about how we calculate the Balance Subject to               Ex. 4, Pg. 2
     Interest Rate and how resultin(l interest was determined, call (800) 531-8722.
                                                                                                                                                                          18CR3677-W
                                                                       Additional Disclosures
                                                                                                                          Additional Disclosures continue on next a e.
                                                                                                                                        H G-USAA-020-000548
                5550          C2E               ?   3   150401!>   0          PAGE :2 of 4         1 0   1946   7000   1i'06:;J    01A:B5550
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                                                                   GOVERNMENT
                                                                     EXHIBIT

                                                                      Ex. 5
                                                                     18CR3677-W
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                                                                    GOVERNMENT
                                                                      EXHIBIT

                                                                       Ex. 6
                                                                      18CR3677-W
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                                            Duncan 09/15/2015 1:46 PM
                                       What is the limit on
                                       the campaign card?
    Margaret 09/15/2015 1:55 PM
   $2500
    Margaret 09/15/2015 1:55 PM
  daily
    Margaret 09/15/2015 2:35 PM

   pls send me personal
   portion right away
   need to get it back
   from him asap

    Margaret 09/15/2015 2:39 PM
   can’t buy shoes today
   babe now
                                            Duncan 09/15/2015 2:40 PM

                                        Already sent it. It’s
                                        on 1 receipt. Shows
                                        the two payments

                                                                          GOVERNMENT
                                                                            EXHIBIT

                                                                              Ex. 7
                                                                            18CR3677-W


                                          1B78 Apple iPad_Other Items_pgs 698-699
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.334 Page 25 of 66




                                                                    GOVERNMENT
                                                                      EXHIBIT

                                                                       Ex. 8
                                                                     18CR3677-W
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.335 Page 26 of 66




                                                                     GOVERNMENT
                                                                       EXHIBIT

                                                                       Ex. 9
                                                                      18CR3677-W
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.336 Page 27 of 66




                                        Duncan 09/29/2015 7:38 AM ET

                                         I need to stop by
                                         a gas station on
                                         the way there.
                                         Cigarettes and
                                         money
    Kevin Y. 09/29/2015 7:38 AM ET
    Copy – calling uber in
    a couple min




                                                                      GOVERNMENT
                                                                        EXHIBIT

                                                                        Ex. 10
                                                                       18CR3677-W




                                              1B78 Apple iPad_Other Items_pg 587
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                                          Duncan 09/29/2015 5:38 AM

                                    I tried to get money
                                    out for golf and
                                    insufficient funds. I
                                    hate when that
                                    happens
    Margaret 09/29/2015 6:01 AM
   Put a check into
   your accnt
    Margaret 09/29/2015 6:24 AM
    You need to use
    camp card take
    the $40 or
    whatever it costs
    1959
    Margaret 09/29/2015 6:24 AM
   I’ll make a receipt
   for it




                                                                        GOVERNMENT
                                                                          EXHIBIT

                                                                          Ex. 11
                                                                         18CR3677-W


                                              1B78 Apple iPad_Other Items_pg 699
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                                                                      GOVERNMENT
                                                                        EXHIBIT

                                                                           Ex. 12
                                                                           18CR3677-W
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.339 Page 30 of 66




    Margaret 01/28/2015 12:56 PM

   I had certificates from a
   prev cancelled flight so
   our tickets were only
   $820 total!!!




                                                                          GOVERNMENT
                                                                            EXHIBIT

                                                                            Ex. 13
                                                                           18CR3677-W


                                              1B78 Apple iPad_Other Items_pg 684
 Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.340 Page 31 of 66




                                                     Date 3/31/15      Page    9
                                                     Account          XXXXX15423
                                                     Enclosures                   1

Easy Business checking                  XXXXX15423     (continued)
            Activity in Date order
Date Description                                         Amount           Balance
 3/30 DBT CRD 0000 03/29/15 00255739                      14.99-     172,747.66
          STEAMGAMES
          10900 NE 4TH ST SU
          BELLEVUE       WA C#9587
 3/30 DBT CRD 0000 03/27/15 10173501                       54.83-    172,692.83
          BILL.COM,
          1810 EMBARCADERO R
          PALO ALTO      CA C#6641
 3/30 DBT CRD 1436 03/27/15 48850093                       71. 83-   172,621.00
          KATO SUSHI
          980 GARNET AVE
          SAN DIEGO      CA C#9587
 3/31 DBT CRD 0000 03/29/15 28523842                      530.00-    172,091.00
          ASTON KAAN
          3445 HONOAPIILANI
          HONOLULU       HI C#9587
 3/31 DBT CRD 0000 03/29/15 28523843                      598.00-    171,493.00
          ASTON KAAN
          3445 HONOAPIILANI
          HONOLULU       HI C#9587


                        checks In Number order
Date check No                      Amount
 3/23       1095                   820.76
* Denotes missing check numbers
To report a lost or stolen ATM or Debit card, call 1-866-546-8273.




                                                                          GOVERNMENT
                                                                            EXHIBIT

                                                                         Ex. 14, Pg. 1
                                                                            18CR3677-W



                                                                      HG-CBB-005-000137
 Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.341 Page 32 of 66




                                                      Date 4/30/15      Page    2
                                                      Account          XXXXX15423
                                                      Enclosures

Easy Business checking                   XXXXX15423     (continued)
              Activity in Date order
Date    Description                                       Amount           Balance
            1370 N MAGNOLIA
            06192878873   CA C#6641
 4/08   DBT CRD 0229 04/07/15 80273808                     27.27-     170,978.91
            GRASSHOPPE
            197 1ST AVENUE SUI
            NEEDHAM       MA C#6641
 4/09   DBT CRD 0000 04/07/15 65035148                       9.36-    170,969.55
            ASTON KAAN
            3445 HONOAPIILANI
            HONOLULU      HI C#9587
 4/09   DBT CRD 0000 04/07/15 65035135                  2,058.61-     168,910.94
            ASTON KAAN
            3445 HONOAPIILANI
            HONOLULU      HI C#9587
 4/09   DBT CRD 0000 04/07/15 65035137                  3,092. 77-    165,818.17
            ASTON KAAN
            3445 HONOAPIILANI
            HONOLULU      HI C#9587
 4/09   DBT CRD 0433 04/08/15 45058066                    182.09-     165,636.08
            AT&T*BILL
            211 S AKARD
            08003310500   TX C#9587
 4/10   DBT CRD 2107 04/09/15 00890003                     500.00-    165,136.08
            NSW FAMILY
            300 CARLSBAD VILL
            08589990333   CA C#9587
 4/11   DBT CRD 0000 04/09/15 53006135                     46.00-     165,090.08
            UNITED
            600 Jefferson stre
            800-932-2732 TX C#9587
 4/11   DBT CRD 0000 04/09/15 53006134                      58.00-    165,032.08
            UNITED
            600 Jefferson Stre
            800-932-2732 TX C#9587
 4/11   DBT CRD 0455 04/10/15 04743580                     63.48-     164,968.60
            EB EAST CO
            155 5TH ST 7TH FLO
            8888102063    CA C#9587
 4/11   DBT CRD 0000 04/09/15 52987938                    645.20-     164,323.40
            UNITED
                                                                            GOVERNMENT
                                                                              EXHIBIT

                                                                          Ex. 14, Pg. 2
                                                                             18CR3677-W


                                                                       HG-CBB-005-000139
           Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.342 Page 33 of 66
From:           Margaret                 @gmail.com>
Sent:           Friday, April 10, 2015 12:44 PM
To:             Chris Marston<-       'a}ElectionCFO.com>
Cc:             Joe Kasper 1_
                             --==::;;;;.-  @gmail.com>
Subject:        Re: Hunter Questions


$86 was to electronic store for cellular phone items

$120 would be for parking

$60.25 restaurant

The two $12.50 were for a support inquiry on a photo record related program

The steam games charges were drafted from wrong accnt. We have numbers stored for various programs but
these steam charges were personal so camp is due a $34.98 refund

The 3-3 $1589 is a charge I am unaware of so I am making an inquiry to Expedia right now.

The Aston kaanapali were charged for reservations which covered two days reserved for fundraising with folks
based out of Honolulu but these reservations were made on 1/30 ...

Since then however, we made a decision to not do any fundraising there at this time for various reasons.
The $530 and $598 will need to get refunded with our personal funds.


On Apr 10, 2015, at 11:53 AM, Chris Marston <~         mlectionCFO.com> wrote:

      Margaret, Joe,

      Looking for purpose of disbursement on the following disbursements

      2/2/15 debit for $86 to D F Electric
      2/9/15 debit for $120 to San Diego Airport (food & beverages?)
      2/20/15 debit for $60.25 - miscellaneous debit (bank debit? same as amount paid to Ki's Restaurant
      on 2/18-don't know if that's relevant)
      3/3/15 debit for $1589.01 to Expedia (travel expenses? airline & hotel?)
      3/10/15 debit for $12.50 to GE through paypal
      3/11/15 debit for $12.50 to GE through paypal
      3/20/15 debit for $19.99 to Steamgames
      3/30/15 debit for $14.99 to Steamgames
      3/31/15 debit for $530 & $598 to Aston Kaanapali Shores in Hawaii (hotel?)

      Thanks,
      Chris




                                                                                                  GOVERNMENT
                                                                                                    EXHIBIT

                                                                                                    Ex. 15
                                                                                                    18CR3677-W


                                                                               HG- SW3522 - CMARS TON - 002 4 42

                                                       HG-SW3522-CMARSTON-002442
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                                                                   GOVERNMENT
                                                                     EXHIBIT

                                                                     Ex. 16
                                                                     18CR3677-W
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                                                                   GOVERNMENT
                                                                     EXHIBIT

                                                                  Ex. 17, Pg. 1
                                                                    18CR3677-W
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                                   GOVERNMENT
                                     EXHIBIT

                                  Ex. 17, Pg. 2
                                    18CR3677-W
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.346 Page 37 of 66




                                                                    GOVERNMENT
                                                                      EXHIBIT

                                                                      Ex. 18
                                                                     18CR3677-W
 Image# 15970362962
           Case 3:18-cr-03677-W                            Document 47 Filed 06/24/19 PageID.347 Page 38 of 66

                                                                                                                        FOR LINE NUMBER:                               PAGE        74 OF         98
SCHEDULE B (FEC Form 3)                                                         Use separate schedule(s)                (check only one)
ITEMIZED DISBURSEMENTS                                                          for each category of the
                                                                                                                                      17                     18                19a               19b
                                                                                Detailed Summary Page
                                                                                                                                      20a                    20b               20c               21
 Any information copied from such Reports and Statements may not be sold or used by any person for the purpose of soliciting contributions
 or for commercial purposes, other than using the name and address of any political committee to solicit contributions from such committee.
     NAME OF COMMITTEE (In Full)
     Duncan D. Hunter for Congress
     Full Name (Last, First, Middle Initial)
A.   ESCONDIDO CHAMBER OF COMMERCE                                                                                          Date of Disbursement
                                                                                                                             M    M         /       D        D     /       Y   Y     Y       Y

     Mailing Address 720 N BROADWAY                                                                                              01                     27                     2015


     City                                                         State            Zip Code                                 Amount of Each Disbursement this Period
     ESCONDIDO                                                    CA               92025-1870
                                                                                                                                                                                    300.00
     Purpose of Disbursement
      MEMBERSHIP
                                                                                                                                                ,                      ,                 .
                                                                                                                          Transaction ID : SB17.I6265
     Candidate Name                                                                                      Category/
                                                                                                           Type
     Ofﬁce Sought:           House                     Disbursement For:
                             Senate                             Primary                  General
                             President                          Other (specify)
     State:            District:
     Full Name (Last, First, Middle Initial)

B.   ESCONDIDO CHAMBER OF COMMERCE                                                                                          Date of Disbursement
                                                                                                                             M    M         /       D        D     /       Y   Y     Y       Y
     Mailing Address 720 N BROADWAY                                                                                              01                     27                     2015

     City                                                         State            Zip Code
                                                                                                                            Amount of Each Disbursement this Period
     ESCONDIDO                                                     CA               92025-1870
                                                                                                                                                                                         40.00
     Purpose of Disbursement
      EVENT TICKETS                                                                                                                             ,                      ,                 .
                                                                                                                          Transaction ID : SB17.I6266
     Candidate Name                                                                                      Category/
                                                                                                           Type
     Ofﬁce Sought:               House                 Disbursement For:
                                 Senate                         Primary                  General
                                 President                      Other (specify)
     State:                District:
     Full Name (Last, First, Middle Initial)

C.   EXPEDIA                                                                                                                Date of Disbursement

                                                                                                                             M    M         /       D    D         /       Y   Y     Y       Y
     Mailing Address 333 108TH AVE NE                                                                                            03                     31                     2015

     City                               State                              Zip Code                                         Amount of Each Disbursement this Period
     BELLEVUE                           WA                                  98004
                                                                                                                                                                                     598.00
     Purpose of Disbursement
      MISTAKEN CHARGE - TO BE REIMBURSED                                                                                                        ,                      ,                 .
                                                                                                                          Transaction ID : SB17.I6214
     Candidate Name                                                                                      Category/
                                                                                                           Type
     Ofﬁce Sought:               House                 Disbursement For:
                                 Senate                         Primary                  General
                                 President                      Other (specify)
     State:                District:

                                                                                                                                                                                    938.00
  SUBTOTAL of Disbursements This Page (optional) ..................................................................                             ,                      ,                 .
  TOTAL This Period (last page this line number only) ...............................................................
                                                                                            GOVERNMENT                                          ,                      ,                 .
                                                                                                     EXHIBIT
FE5AN018                                                                                     Ex. 19, Pg. 1                        FEC Schedule B (Form 3) (Revised 02/2009)

                                                                                                  18CR3677-W
 Image# 15970362963
           Case 3:18-cr-03677-W                             Document 47 Filed 06/24/19 PageID.348 Page 39 of 66

                                                                                                                        FOR LINE NUMBER:                               PAGE        75 OF         98
SCHEDULE B (FEC Form 3)                                                          Use separate schedule(s)               (check only one)
ITEMIZED DISBURSEMENTS                                                           for each category of the
                                                                                                                                      17                     18                19a               19b
                                                                                 Detailed Summary Page
                                                                                                                                      20a                    20b               20c               21
 Any information copied from such Reports and Statements may not be sold or used by any person for the purpose of soliciting contributions
 or for commercial purposes, other than using the name and address of any political committee to solicit contributions from such committee.
     NAME OF COMMITTEE (In Full)
     Duncan D. Hunter for Congress
     Full Name (Last, First, Middle Initial)
A.   EXPEDIA                                                                                                                Date of Disbursement
                                                                                                                             M    M         /       D        D     /       Y   Y     Y       Y

     Mailing Address 333 108TH AVE NE                                                                                            03                     31                     2015


     City                                                          State             Zip Code                               Amount of Each Disbursement this Period
     BELLEVUE                                                      WA                98004
                                                                                                                                                                                    530.00
     Purpose of Disbursement
      MISTAKEN CHARGE - TO BE REIMBURSED
                                                                                                                                                ,                      ,                 .
                                                                                                                          Transaction ID : SB17.I6215
     Candidate Name                                                                                        Category/
                                                                                                             Type
     Ofﬁce Sought:           House                      Disbursement For:
                             Senate                              Primary                   General
                             President                           Other (specify)
     State:            District:
     Full Name (Last, First, Middle Initial)

B.   EXPEDIA                                                                                                                Date of Disbursement
                                                                                                                             M    M         /       D        D     /       Y   Y     Y       Y
     Mailing Address 333 108TH AVE NE                                                                                            03                     03                     2015

     City                                                          State             Zip Code
                                                                                                                            Amount of Each Disbursement this Period
     BELLVUE                                                       WA                98004
                                                                                                                                                                                   1589.01
     Purpose of Disbursement
      AIRFARE & HOTEL                                                                                                                           ,                      ,                 .
                                                                                                                          Transaction ID : SB17.I6268
     Candidate Name                                                                                        Category/
                                                                                                             Type
     Ofﬁce Sought:                House                 Disbursement For:
                                  Senate                         Primary                   General
                                  President                      Other (specify)
     State:                 District:
     Full Name (Last, First, Middle Initial)

C.   EXPEDIA                                                                                                                Date of Disbursement

                                                                                                                             M    M         /       D    D         /       Y   Y     Y       Y
     Mailing Address 333 108TH AVE NE                                                                                            01                     02                     2015

     City                                                    State          Zip Code                                        Amount of Each Disbursement this Period
     BELLVUE                                                 WA              98004
                                                                                                                                                                                     739.68
     Purpose of Disbursement
      TRANSPORTATION                                                                                                                            ,                      ,                 .
                                                                                                                          Transaction ID : SB17.I6269
     Candidate Name                                                                                        Category/
                                                                                                             Type
     Ofﬁce Sought:                House                 Disbursement For:
                                  Senate                         Primary                   General
                                  President                      Other (specify)
     State:                 District:

                                                                                                                                                                                   2858.69
  SUBTOTAL of Disbursements This Page (optional) ..................................................................                             ,                      ,                 .
                                                                                               GOVERNMENT
  TOTAL This Period (last page this line number only) ...............................................................
                                                                                                EXHIBIT                                         ,                      ,                 .
FE5AN018
                                                                                            Ex. 19, Pg. 2                         FEC Schedule B (Form 3) (Revised 02/2009)
                                                                                                  18CR3677-W
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.349 Page 40 of 66




                                            Duncan 10/30/2013 2:30 PM
                                       Can I use the card
                                       for smokes or will
                                       that cost $30?
    Margaret 10/30/2013 2:31 PM

   no $ on chase
   babe. Will cost
   $34




                                                                        GOVERNMENT
                                                                          EXHIBIT

                                                                           Ex. 20
                                                                          18CR3677-W


                                              1B78 Apple iPad_Other Items_pg 639
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.350 Page 41 of 66




                                            Duncan 03/18/2015 7:42 AM
                                       My card just
                                       declined for $2.45
                                       in a big line at the
                                       cafeteria
   Margaret 03/18/2015 7:43 AM

   I’m sorry why not
   use our cash for
   $2?




                                                                          GOVERNMENT
                                                                            EXHIBIT

                                                                             Ex. 21
                                                                            18CR3677-W


                                              1B78 Apple iPad_Other Items_pg 686
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.351 Page 42 of 66




                                            Duncan 09/19/2013 5:57 PM
                                        My card just
                                        declined
   Margaret 09/19/2013 5:57 PM
    Well sorry didn’t
    know you’d need
    before getting cash
    this weekend
   Margaret 09/19/2013 5:58 PM
    I texted you that Id
    have cash for you
    when home
   Margaret 09/19/2013 6:01 PM
    where?
                                            Duncan 09/19/2013 6:10 PM
                                         Liquor store. No
                                         biggy.
    Margaret 09/19/2013 6:10 PM
   sorry
    Margaret 09/19/2013 6:10 PM
   lu has phone for 15                                                   GOVERNMENT
                                                                           EXHIBIT

                                                                       Ex. 22, Pg. 1
                                                                          18CR3677-W

                                              1B78 Apple iPad_Other Items_pg 622
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.352 Page 43 of 66




                                          Duncan 09/19/2013 6:10 PM

                                          I didn’t know
                                          that you saying
                                          I’d have cash at
                                          home meant
                                          don’t use the
                                          card. Should’ve
                                          just said don’t
                                          use the card
                                          Duncan 09/19/2013 6:10 PM

                                        But no biggie. Ok.
                                        Love you
    Margaret 09/19/2013 6:12 PM
    sorry figured
    somehow you knew
    why I was saying that
    I’ll put some in for
    next week




                                                                          GOVERNMENT
                                                                            EXHIBIT

                                                                        Ex. 22, Pg. 2
                                                                           18CR3677-W




                                              1B78 Apple iPad_Other Items_pg 622
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.353 Page 44 of 66




                                                                   GOVERNMENT
                                                                     EXHIBIT

                                                                     Ex. 23
                                                                    18CR3677-W
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.354 Page 45 of 66




    Margaret 12/12/2013 8:00 AM

    $20 left for you in
    accnt. I’ll have $300
    cash with me Friday.

    Margaret 12/12/2013 8:02 AM

    then your mom will
    give us a check next
    week she says

                                          Duncan 12/12/2013 8:02 AM

                                                      Yay




                                                                       GOVERNMENT
                                                                         EXHIBIT

                                                                         Ex. 24
                                                                        18CR3677-W



                                              1B78 Apple iPad_Other Items_pg 644
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.355 Page 46 of 66




                                                                     GOVERNMENT
                                                                       EXHIBIT

                                                                       Ex. 25
                                                                      18CR3677-W
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.356 Page 47 of 66




                                                                    GOVERNMENT
                                                                      EXHIBIT

                                                                      Ex. 26
                                                                      18CR3677-W
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.357 Page 48 of 66




                                            Duncan 10/21/2014 8:13 PM

                                                         $
                                            Duncan 10/21/2014 8:13 PM
                                         Can I please get it
                                         tomorrow
                                         morning?
    Margaret 10/23/2014 11:40 AM

    all ok. we’re very low
    on $ so I’m concerned




                                                                          GOVERNMENT
                                                                            EXHIBIT

                                                                             Ex. 27
                                                                            18CR3677-W



                                              1B78 Apple iPad_Other Items_pg 681
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.358 Page 49 of 66




                                                                      GOVERNMENT
                                                                        EXHIBIT

                                                                           Ex. 28
                                                                       18CR3677-W
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.359 Page 50 of 66




                                                                    GOVERNMENT
                                                                      EXHIBIT

                                                                  Ex. 29, Pg. 1
                                                                     18CR3677-W
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                                                                     GOVERNMENT
                                                                       EXHIBIT

                                                                    Ex. 29, Pg. 2
                                                                      18CR3677-W
                                      A4.
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                              3570 Las Vegas     Blvd.   South Las Vegas NV 89109
                             FOR RESERVATIONS              CALL 1-800-634-6661
                                                   702-731-7110




                                                         GUEST     PAY




        HUNTER        DUNCAN                                                          Room    No   LC   3056
        EXPEDIA                                                                       Page No           1

        OK     FOR   STAY                                                             Guests                2

                                                                                      Res    ID.   421834289987
                                                                                      Fol    ID.   421844402966
                                                                                      Arvl    Dt     6/29/15
                                                                                      Dept    Dt     7/01/15
                                                                                      Group        WCEXB15
                                                                                      T/A    No.




      DATE           REFERENCE             DESCRIPTION                      SPLIT           AMOUNT


     6/30/15        421844402964           SNACKUS       MAXIMUS                               77.00
    EXTERNAL    TICKET     1466224
     6/30/15        421844417144           SNACKUS       MAXIMUS                               27.00
    EXTERNAL    TICKET     1453617
     6/30/15        421844566902           SNACKUS       MAXIMUS                               27.00
    EXTERNAL    TICKET     1466294
     6/30/15        421844612431           SUN   GODS     STORE                                14.79
    EXTERNAL    TICKET       10
                                           LC3056HU          XPCLV6838402
     6/30/15         421844614482          STARBUCKS                                           11.73
    EXTERNAL    TICKET     6756265
     7/01/15        421855917499           STARBUCKS                                           21.46



                                            178.98-4065
    EXTERNAL    TICKET     6765428
     7/01/15         421856161766          FRONT    DESK    VISA




                                  TOTAL                      0.00




     037       1556    FVS                7/01/15421834289987HUNTER          DUNCAN
                                                                                                                 GOVERNMENT
                                                                                                                   EXHIBIT
                      Thank You for Staying                      at   Caesars Palace
                                                                                                                Ex. 30, Pg. 1
                                                                                                                  18CR3677-W
                                     A4.
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.362 Page 53 of 66


                            3570 Las Vegas         Blvd.   South Las Vegas NV 89109
                            FOR RESERVATIONS                 CALL 1-800-634-6661
                                                       702-731-7110




                            GROUP        DELEGATE/CONVENTION




        HUNTER       MARGARET                                                          Room    No
        EXPEDIA      BEST   2015-2016                                                  Page No          1

                                                                                       Guests               1

                                                                                       Res    ID.   416714062531
                                                                                       Fol    ID.   421834289327
                                                                                       Arvl    Dt     6/29/15
                                                                                       Dept    Dt     7/01/15
                                                                                       Group        WCEXB15
                                                                                       T/A    No.
                        TRANSFER         FROM      MARGARET                                HUNTER                  421823747232
    GRMTX                                GROUP    RM       TAX   TO   MASTER


      DATE        REFERENCE                 DESCRIPTION                        SPLIT         AMOUNT


     6/29/15       421839001151             ROOM       CHARGE    LC 3056                       177.62
    EXTERNAL   TICKET    LC 3056
                                            TAX                                                 21.31




    397.86-XFR
     6/30/15      421849001173              ROOM       CHARGE    LC 3056                       177.62
    EXTERNAL   TICKET       LC    3056
                                            TAX                                                 21.31
     7/01/15      421856161746              GROUP SETTLEMENT
        TO        416714062531              WCEXB15     GROUP MASTER
                                            FRM 6/29/15   TO 7/01/15



                                 TOTAL                           0.00




     305       000   DIR                  7/01/15416714062531HUNTER             MARGARET
                                                                                                                 GOVERNMENT
                                                                                                                   EXHIBIT
                     Thank You for Staying                        at    Caesars Palace
                                                                                                                Ex. 30, Pg. 2
                                                                                                                  18CR3677-W
                                       A4.
Case 3:18-cr-03677-W Document 47 Filed 06/24/19 PageID.363 Page 54 of 66


                             3570 Las Vegas    Blvd.   South Las Vegas NV 89109
                             FOR RESERVATIONS            CALL 1-800-634-6661
                                                702-731-7110




                                                       GUEST     PAY




        HUNTER        MARGARET                                                           Room    No    LC    3056
        EXPEDIA                                                                          Page No             1

        OK     FOR   STAY                                                                Guests                  2

                                                                                         Res    ID.    421823747232
                                                                                         Fol    ID.    421834289330
                                                                                         Arvl    Dt      6/29/15
                                                                                         Dept    Dt      7/01/15
                                                                                         Group         WCEXB15
                                                                                         T/A    No.




      DATE           REFERENCE          DESCRIPTION                            SPLIT           AMOUNT


     6/29/15         421834289328       RESORT FEE $32.48  DAILY
     6/29/15         421834290719       ROOM SERVICE MINI BAR                                         7.57
                                          23056 005807  AQUAFINA
     6/29/15        421834290807         INTERNET       24   HOUR    BLOCK           X                6.99
    EXTERNAL    TICKET    4290807
                                        3056    0106 LAPTOP-25002
     6/29/15         421834291454       ROOM    SERVICE MINI BAR                                      7.57
                                          23056 012655 AQUAFINA
     6/29/15         421834291802       ROOM SERVICE MINI BAR                                         7.57
                                          23056 014747 AQUAFINA
     6/29/15         421834291805       ROOM SERVICE MINI BAR                                         7.57
                                          23056 014747 AQUAFINA
     6/29/15         421834294679       RESORT FEE                                                32.48
    EXTERNAL    TICKET       0001247
                                        RESORT      FEE
     6/30/15        421844672024        RESORT      FEE                                           32.48
    EXTERNAL    TICKET     0001217
                                        RESORT      FEE
     6/30/15        421844379934        CAFE    AMERICANO           LSD                          245.39
    EXTERNAL    TICKET     673
                                        LC3056HU             XPCLV6837329
     6/30/15        421844382206         INTERNET       24   HOUR    BLOCK           X                4.99
    EXTERNAL    TICKET    4382206
                                        3056 1154 LAPTOP-25002
     6/30/15         421844391464       SUN GODS STORE                                            59.78
    EXTERNAL    TICKET       9918
                                        LC3056HU             XPCLV6837598
     6/30/15         421844405018       ROOM    SERVICE       MINI    BAR                             5.41
                                          23056 142143 SIERRA                MIS
     6/30/15         421844406062       ROOM SERVICE MINI BAR                                         5.41
                                          23056 143157 SIERRA                MIS
     6/30/15         421844408743       ROOM SERVICE MINI BAR                                     30.27
                                          23056        145645    INTIMACY      M
     6/30/15        421844419404        SNACKUS        MAXIMUS                                    27.00
    EXTERNAL    TICKET     1453637
     6/30/15         421844446564       ROOM SERVICE MINI BAR                                         5.41
                                          23056 160735 DIET PEPSI
     6/30/15         421844614204       ROOM SERVICE MINI BAR                                         5.41
                                           23056       163912    DIET     PEPSI
     6/30/15        421844624751         IN ROOM       DINING                                    212.53
    EXTERNAL    TICKET     1281841
     6/30/15        421844662515        ROOM SERVICE MINI BAR                                         7.57
                                          23056 230443 MILLER                LIT




    2430       1556    FVS             7/01/15421823747232HUNTER                   MARGARET
                                                                                                                      GOVERNMENT
                                                                                                                        EXHIBIT
                      Thank You for Staying                     at   Caesars Palace
                                                                                                                     Ex. 30, Pg. 3
                                                                                                                       18CR3677-W
                                    A4.
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                             3570 Las Vegas   Blvd.   South Las Vegas NV 89109
                             FOR RESERVATIONS           CALL 1-800-634-6661
                                               702-731-7110




                                                      GUEST    PAY




        HUNTER        MARGARET                                                   Room    No   LC   3056
        EXPEDIA                                                                  Page No           2

        OK     FOR   STAY                                                        Guests                2

                                                                                 Res    ID.   421823747232
                                                                                 Fol    ID.   421834289330
                                                                                 Arvl    Dt     6/29/15
                                                                                 Dept    Dt     7/01/15
                                                                                 Group        WCEXB15
                                                                                 T/A    No.




     DATE            REFERENCE         DESCRIPTION                      SPLIT          AMOUNT


     7/01/15         421856161749
                                        711.40-4065
                                       FRONT     DESK   VISA




                              TOTAL                       0.00




     030       1556    FVS            7/01/15421823747232HUNTER          MARGARET
                                                                                                            GOVERNMENT
                                                                                                              EXHIBIT
                      Thank You for Staying                   at   Caesars Palace
                                                                                                           Ex. 30, Pg. 4
                                                                                                             18CR3677-W
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                                                                           GOVERNMENT
                                                                             EXHIBIT

                                                                            Ex. 31
                                                                            18CR3677-W
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                                         Duncan 07/07/2015 6:27 AM
                                        The campaign
                                        card declined for
                                        a $100 purchase.
    Margaret 07/07/2015 2:07 PM

     Short and fun in front?
     Hey we racked up $600
     minibar and various
     beg and more charges
     at Caesars…
                                           Duncan 07/07/2015 2:25 PM
                                          Believe it.
                                            Duncan 07/07/2015 2:26 PM
                                          Breakfast was
                                          over $200
                                            Duncan 07/07/2015 2:27 PM
                                          Duncan and I did
                                          not get anything
                                          in our room at
                                          Caesars
                                            Duncan 07/07/2015 2:28 PM
                                          I should say I. I
                                          did have two
                                          beers out of the
                     GOVERNMENT
                       EXHIBIT            refrigerator
                    Ex. 32, Pg. 1         1B78 Apple iPad_Other Items_pgs 695-696
                      18CR3677-W
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                                         Duncan 07/07/2015 2:28 PM
                                          What did we
                                          have for dinner
                                          there?
      Margaret 07/07/2015 2:30 PM

      we didn’t went to
      that Italian place
      Breakfast, kids room
      service while we
      were at pool and our
      pool drinks were
      $178
      then gift shop

      Margaret 07/07/2015 2:30 PM

    minibar has several
    charges for snacks.
    Anyway lots of $
    oh well




                                                                           GOVERNMENT
                                                                             EXHIBIT

                                                                         Ex. 32, Pg. 2
                                                                            18CR3677-W


                                          1B78 Apple iPad_Other Items_pgs 695-696
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                                                                   GOVERNMENT
                                                                     EXHIBIT

                                                                     Ex. 33
                                                                    18CR3677-W
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                                                                  GOVERNMENT
                                                                    EXHIBIT

                                                                 Ex. 34, Pg. 1
                                                                   18CR3677-W
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                                                                 GOVERNMENT
                                                                   EXHIBIT

                                                                Ex. 34, Pg. 2
                                                                   18CR3677-W
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                                                                     GOVERNMENT
                                                                       EXHIBIT

                                                                    Ex. 34, Pg. 3
                                                                      18CR3677-W
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                                                                     GOVERNMENT
                                                                       EXHIBIT

                                                                   Ex. 34, Pg. 4
                                                                      18CR3677-W
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    Margaret 12/03/2015 10:53 AM
    btw the visa isn’t full
    at all so it not working
    last night was not the
    bank issue
    Margaret 12/03/2015 10:56 AM
    chris actually paid it
    up Nov 23
                                           Duncan 12/03/2015 11:10 AM
                                          Ok. I’ll try it right
                                          now.
    Margaret 12/03/2015 11:10 AM
    yeah. There’s only a
    $290 bal on it
                                           Duncan 12/03/2015 11:18 AM

                                         Just tried it for
                                         $30 and it does
                                         not work. It
                                         explicitly says
                                         declined. This is
                                         happened twice
                                         now at two
                                         different places
                                         within 24 hours
                         GOVERNMENT
                           EXHIBIT
                                              1B78 Apple iPad_Other Items_pg 701
                        Ex. 35, Pg. 1
                          18CR3677-W
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    Margaret 12/03/2015 11:19 AM

    K I’ll make a call

    Margaret 12/03/2015 12:55 PM

    yep bank had a fraud
    concern and resent a
    card. Need to activate
    the one that just
    came here




                                                                          GOVERNMENT
                                                                            EXHIBIT

                                                                        Ex. 35, Pg. 2
                                                                           18CR3677-W


                                              1B78 Apple iPad_Other Items_pg 701
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                                                                      GOVERNMENT
                                                                        EXHIBIT

                                                                           Ex. 36
                                                                       18CR3677-W
